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U.S. Department of Justice

Edward R. Martin, Jr.
United States Attorney

District of Columbia

Patrick Henry Building
60] D Street, N.W.
Washington DC, 20530

February 13, 2025

Nicholas Madiou, Esq.

Re: United States v. Michael Pittman
Criminal Case No. 24-cr-00296 (TSC)

Dear Mr. Madiou:

This letter sets forth the full and complete plea offer to your client, Michael Pittman
(hereinafter referred to as “your client” or “defendant”), from the Office of the United States
Attorney for the District of Columbia (hereinafter also referred to as “the Government” or “this
Office”). This plea offer expires on March 14, 2025. If your client accepts the terms and
conditions of this offer, please have your client execute this document in the space provided
below. Upon receipt of the executed document, this letter will become the Plea Agreement
(hereinafter referred to as “this Agreement”). The terms of the offer are as follows:

1. Charges and Statutory Penalties

Your client agrees to plead guilty to Count One of a criminal Information, a copy of
which is attached, charging your client with Conspiracy to Traffick Firearms, in violation of 18
USS.C. § 933(a)(3)

Your client understands that a violation of 18 U.S.C. § 933(a)(3) carries a maximum
sentence of 15 years’ imprisonment, a fine of a fine of $250,000, pursuant to 18 U.S.C. §
3571(b)(3); a term of supervised release of not more than three years, pursuant to 18 U.S.C. §
3583(b)(2); and an obligation to pay any applicable interest or penalties on fines and restitution
not timely made.

In addition, your client agrees to pay a special assessment of $100 per felony conviction
to the Clerk of the United States District Court for the District of Columbia. Your client also
understands that, pursuant to 18 U.S.C. § 3572 and § 5E1.2 of the United States Sentencing
Commission, Guidelines Manual (2024) (hereinafter “Sentencing Guidelines,” “Guidelines,” or
“U.S.S.G.”), the Court may also impose a fine that is sufficient to pay the federal government the
costs of any imprisonment, term of supervised release, and period of probation. Further, your
client understands that, if your client has two or more convictions for a crime of violence or

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felony drug offense, your client may be subject to the substantially higher penalties provided for
in the career-offender statutes and provisions of the Sentencing Guidelines.

2. Factual Stipulations

Your client agrees that the attached “Statement of Offense” fairly and accurately
describes your client’s actions and involvement in the offense(s) to which your client is pleading
guilty. Please have your client sign and return the Statement of Offense as a written proffer of
evidence, along with this Agreement.

3. Additional Charges

In consideration of your client’s guilty plea to the above offense, your client will not be
further prosecuted criminally by this Office for the conduct set forth in the attached Statement of
Offense. The Government will request that the Court dismiss the Indictment in this case at the
time of sentencing. Your client agrees and acknowledges that the charges to be dismissed at the
time of sentencing were based in fact.

4. Sentencing Guidelines Analysis

Your client understands that the sentence in this case will be determined by the Court,
pursuant to the factors set forth in 18 U.S.C. § 3553(a), including a consideration of the
Sentencing Guidelines. Pursuant to Federal Rule of Criminal Procedure 11(c)(1)(B), and to
assist the Court in determining the appropriate sentence, the parties agree to the following:

A. Estimated Offense Level Under the Guidelines

The parties agree that the following Sentencing Guidelines sections apply:

Conspiracy to Traffick Firearms: 18 U.S.C. 933(a)(3)
Base Offense level 20 §2K2.1(a)(4)(B)
200 or more firearms +10 (Because the cumulative | §2K2.1(b)(1)
offense level from
enhancements under this
section cannot exceed 29, this

caps at +9)
Transport to Felon +5 §2K2.1(b)(S(c))
Total Offense Level 34

Acceptance of Responsibility

The Government agrees that a 2-level reduction will be appropriate, pursuant to U.S.S.G.
§ 3E1.1, provided that your client clearly demonstrates acceptance of responsibility, to the
satisfaction of the Government, through your client’s allocution, adherence to every provision of
this Agreement, and conduct between entry of the plea and imposition of sentence.

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Furthermore, assuming your client has accepted responsibility as described in the
previous sentence, the Government agrees that an additional 1-level reduction will be
appropriate, pursuant to U.S.S.G. § 3E1.1(b), because your client has assisted authorities by
providing timely notice of your client’s intention to enter a plea of guilty, thereby permitting the
Government to avoid preparing for trial and permitting the Court to allocate its resources

efficiently.

Nothing in this Agreement limits the right of the Government to seek denial of the
adjustment for acceptance of responsibility, pursuant to U.S.S.G. § 3E1.1, and/or imposition of
an adjustment for obstruction of justice, pursuant to U.S.S.G. § 3C1.1, regardless of any
agreement set forth above, should your client move to withdraw your client’s guilty plea after it
is entered, or should it be determined by the Government that your client has either (a) engaged
in conduct, unknown to the Government at the time of the signing of this Agreement, that
constitutes obstruction of justice, or (b) engaged in additional criminal conduct after signing this

Agreement.

In accordance with the above, the Estimated Offense Level will be at least 31.

B. Estimated Criminal History Category

Based upon the information now available to this Office, your client has an April 29,
2024 conviction for Second Degree Assault in Prince George’s County, Maryland for which he
was sentenced to thirty days’ incarceration.

Therefore, your client is estimated to have one criminal history point and your client’s
Criminal History Category is estimated to be I (the “Estimated Criminal History Category”).
Your client acknowledges that after the pre-sentence investigation by the United States Probation
Office, a different conclusion regarding your client’s criminal convictions and/or criminal history
points may be reached and your client’s criminal history points may increase or decrease.

C. Adjustment Based on U.S.S.G. § 4C1.1

The parties agree that your client is not eligible for a zero-point offender adjustment
pursuant to U.S.S.G. § 4C1.1(a)(1) because your client received criminal history points as set

forth above.
D. Estimated Guidelines Range

Based upon the Estimated Offense Level and the Estimated Criminal History Category
set forth above, your client’s estimated Sentencing Guidelines range is 108 months to 135
months (the “Estimated Guidelines Range”). In addition, the parties agree that, pursuant to
U.S.S.G. § 5E1.2, should the Court impose a fine, at Guidelines level 31, the estimated
applicable fine range is $30,000 to $300,000. Your client reserves the right to ask the Court not

to impose any applicable fine.

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The parties agree that, solely for the purposes of calculating the applicable range under
the Sentencing Guidelines, neither a downward nor upward departure from the Estimated
Guidelines Range set forth above is warranted. Except as provided for in the “Adjustment
Pursuant to U.S.S.G. § 4C1.1” section above and “Reservation of Allocution” section below, the
parties also agree that neither party will seek any offense-level calculation different from the
Estimated Offense Level calculated above. However, the parties are free to argue for a Criminal
History Category different from that estimated above in subsection B.

Your client understands and acknowledges that the Estimated Guidelines Range
calculated above is not binding on the Probation Office or the Court. Should the Court or
Probation Office determine that a guidelines range different from the Estimated Guidelines
Range is applicable, or that your client is not eligible for an adjustment pursuant to U.S.S.G. §
4C1.1, that will not be a basis for withdrawal or recission of this Agreement by either party.

Your client understands and acknowledges that the terms of this section apply only to
conduct that occurred before the execution of this Agreement. Should your client commit any
conduct after the execution of this Agreement that would form the basis for an increase in your
client’s base offense level or justify an upward departure (examples of which include, but are not
limited to, obstruction of justice, failure to appear for a court proceeding, criminal conduct while
pending sentencing, and false statements to law enforcement agents, the probation officer, or the
Court), the Government is free under this Agreement to seek an increase in the base offense level

based on that post-agreement conduct.

5. Agreement as to Sentencing Allocution

The parties further agree that a sentence within the Estimated Guidelines Range would
constitute a reasonable sentence in light of all of the factors set forth in 18 U.S.C. § 3553(a),
should such a sentence be subject to appellate review notwithstanding the appeal waiver
provided below. Nevertheless, your client reserves the right to seek a sentence below the
Estimated Guidelines Range based upon factors to be considered in imposing a sentence
pursuant to 18 U.S.C. § 3553(a). The Government agrees to cap its requested sentenece at the
bottom of the Guidelines Range, as ultimately determined by the Court.

6. Reservation of Allocution

The Government and your client reserve the right to describe fully, both orally and in
writing, to the sentencing judge, the nature and seriousness of your client’s misconduct,
including any misconduct not described in the charges to which your client is pleading guilty, to
inform the presentence report writer and the Court of any relevant facts, to dispute any factual
inaccuracies in the presentence report, and to contest any matters not provided for in this
Agreement. The parties also reserve the right to address the correctness of any Sentencing
Guidelines calculations determined by the presentence report writer or the court, even if those
calculations differ from the Estimated Guidelines Range calculated herein. In the event that the
Court or the presentence report writer considers any Sentencing Guidelines adjustments,
departures, or calculations different from those agreed to and/or estimated in this Agreement, or
contemplates a sentence outside the Guidelines range based upon the general sentencing factors

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listed in 18 U.S.C. § 3553(a), the parties reserve the right to answer any related inquiries from
the Court or the presentence report writer and to allocute for a sentence within the Guidelines
range, as ultimately determined by the Court, even if the Guidelines range ultimately determined
by the Court is different from the Estimated Guidelines Range calculated herein.

In addition, if in this Agreement the parties have agreed to recommend or refrain from
recommending to the Court a particular resolution of any sentencing issue, the parties reserve the
right to full allocution in any post-sentence litigation. The parties retain the full right of
allocution in connection with any post-sentence motion which may be filed in this matter and/or
any proceeding(s) before the Bureau of Prisons. In addition, your client acknowledges that the
Government is not obligated and does not intend to file any post-sentence downward departure
motion in this case pursuant to Rule 35(b) of the Federal Rules of Criminal Procedure.

7. Court Not Bound by this Agreement or the Sentencing Guidelines

Your client understands that the sentence in this case will be imposed in accordance with
18 U.S.C. § 3553(a), upon consideration of the Sentencing Guidelines. Your client further
understands that the sentence to be imposed is a matter solely within the discretion of the Court.
Your client acknowledges that the Court is not obligated to follow any recommendation of the
Government at the time of sentencing. Your client understands that neither the Government’s
recommendation nor the Sentencing Guidelines are binding on the Court.

Your client acknowledges that your client’s entry of a guilty plea to the charged
offense(s) authorizes the Court to impose any sentence, up to and including the statutory
maximum sentence, which may be greater than the applicable Guidelines range. The
Government cannot, and does not, make any promise or representation as to what sentence your
client will receive. Moreover, it is understood that your client will have no right to withdraw
your client’s plea of guilty should the Court impose a sentence that is outside the Guidelines
range or if the Court does not follow the Government’s sentencing recommendation. The
Government and your client will be bound by this Agreement, regardless of the sentence
imposed by the Court. Any effort by your client to withdraw the guilty plea because of the
length of the sentence shall constitute a breach of this Agreement.

8. Conditions of Release

Your client agrees not to object to the Government’s recommendation to the Court at the
time of the plea of guilty in this case that your client be detained without bond pending your
client’s sentencing in this case, pursuant to 18 U.S.C. § 3143.

9. Waivers

A. Venue

Your client waives any challenge to venue in the District of Columbia.

B. Statute of Limitations

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Your client agrees that, should the conviction following your client’s plea of guilty
pursuant to this Agreement be vacated for any reason, any prosecution, based on the conduct set
forth in the attached Statement of Offense, that is not time-barred by the applicable statute of
limitations on the date of the signing of this Agreement (including any counts that the
Government has agreed not to prosecute or to dismiss at sentencing pursuant to this
Agreement)may be commenced or reinstated against your client, notwithstanding the expiration
of the statute of limitations between the signing of this Agreement and the commencement or
reinstatement of such prosecution. It is the intent of this Agreement to waive all defenses based
on the statute of limitations with respect to any prosecution of conduct set forth in the attached
Statement of Offense that is not time-barred on the date that this Agreement is signed.

Cc. Trial Rights

Your client understands that by pleading guilty in this case your client agrees to waive
certain rights afforded by the Constitution of the United States and/or by statute or rule. Your
client agrees to forego the right to any further discovery or disclosures of information not already
provided at the time of the entry of your client’s guilty plea. Your client also agrees to waive,
among other rights, the right to be indicted by a Grand Jury, the right to plead not guilty, and the
right to a jury trial. If there were a jury trial, your client would have the right to be represented
by counsel, to confront and cross-examine witnesses against your client, to challenge the
admissibility of evidence offered against your client, to compel witnesses to appear for the
purpose of testifying and presenting other evidence on your client’s behalf, and to choose
whether to testify. If there were a jury trial and your client chose not to testify at that trial, your
client would have the right to have the jury instructed that your client’s failure to testify could
not be held against your client. Your client would further have the right to have the jury
instructed that your client is presumed innocent until proven guilty, and that the burden would be
on the United States to prove your client’s guilt beyond a reasonable doubt. If your client were
found guilty after a trial, your client would have the right to appeal your client’s conviction.
Your client understands that the Fifth Amendment to the Constitution of the United States
protects your client from the use of self-incriminating statements in a criminal prosecution. By
entering a plea of guilty, your client knowingly and voluntarily waives or gives up your client’s
right against self-incrimination.

Your client acknowledges discussing with you Rule 11(f) of the Federal Rules of
Criminal Procedure and Rule 410 of the Federal Rules of Evidence, which ordinarily limit the
admissibility of statements made by a defendant in the course of plea discussions or plea
proceedings if a guilty plea is later withdrawn. Your client knowingly and voluntarily waives the
rights that arise under these rules in the event your client withdraws your client’s guilty plea or
withdraws from this Agreement after signing it.

Your client also agrees to waive all constitutional and statutory rights to a speedy
sentence and agrees that the plea of guilty pursuant to this Agreement will be entered at a time
decided upon by the parties with the concurrence of the Court. Your client understands that the

date for sentencing will be set by the Court.

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D. Appeal Rights

Your client agrees to waive, insofar as such waiver is permitted by law, the right to
appeal the conviction in this case on any basis, including but not limited to claim(s) that (1) the
statute(s) to which your client is pleading guilty is unconstitutional, and (2) the admitted conduct
does not fall within the scope of the statute(s). Your client understands that federal law,
specifically 18 U.S.C. § 3742, affords defendants the right to appeal their sentences in certain
circumstances. Your client also agrees to waive the right to appeal the sentence in this case,
including but not limited to any term of imprisonment, fine, forfeiture, award of restitution, term
or condition of supervised release, authority of the Court to set conditions of release, and the
manner in which the sentence was determined, except to the extent the Court sentences your
client above the statutory maximum or guidelines range determined by the Court. In agreeing to
this waiver, your client is aware that your client’s sentence has yet to be determined by the
Court. Realizing the uncertainty in estimating what sentence the Court ultimately will impose,
your client knowingly and willingly waives your client’s right to appeal the sentence, to the
extent noted above, in exchange for the concessions made by the Government in this Agreement.
Notwithstanding the above agreement to waive the right to appeal the conviction and sentence,
your client retains the right to appeal on the basis of ineffective assistance of counsel, but not to
raise on appeal other issues regarding the conviction or sentence.

E. Collateral Attack

Your client also waives any right to challenge the conviction entered or sentence imposed
under this Agreement or otherwise attempt to modify or change the sentence or the manner in
which it was determined in any collateral attack, including, but not limited to, a motion brought
under 28 U.S.C. § 2255 or Federal Rule of Civil Procedure 60(b), except to the extent such a
motion is based on newly discovered evidence or on a claim that your client received ineffective
assistance of counsel. Your client reserves the right to file a motion brought under 18 U.S.C.

§ 3582(c).

10. Forfeiture

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The Government and your client hereby agree that the following firearms seized and
currently in the custody and/or control of law enforcement were properly seized during your
client’s arrest in Mecklenburg County, Virginia on May 30, 2024:

Make Model S/N Caliber | Stolen |
Smith & Wesson | SD9VE FZK4257 9
Smith & Wesson | SD9VE FEB7326 9 Yes
Glock 19 Gen 5 BZPGI110 9 Yes
Smith & Wesson | SD9VE FDJ9712 9
Glock 20 BMX Y390 10
Glock 19X BXGZ748 9
Springfield Hellcat BY364439 9
Springfield Hellcat BY605812 9 Yes
Glock 17 Gen 5 CBCR094 9
Taurus Gx4 1GA85168 9
International
Smith & Wesson | SD40VE HEJ3938 40
Smith & Wesson | CSX SBD2826 9 Yes
Taurus Judge ADK761334 410 Yes
International
Glock 26 BEDH673 9 Yes
Taurus G2C ABE592126 9
International
Canik TP9SF 20BH03021 9
Glock 19 Gen 5 BPDZ773 9 Yes
Glock 19 Gen 5 BUHM369 9
Glock 19 PWP217 9

Your client also agrees that the following items recovered during a search of his home on
May 30, 2024 were lawfully seized and subject to forfeiture.

Rifle cleaning kit

Pistol mount light

Ammunition in various calibers

Firearm magazines

Fore grip with light

Firearm parts/Glock switch part

AR-type armors wrench

Assorted firearms accessories

Glock 23 slide S/N: MEB711, receiver S/N: VZP127 pistol
Canik pistol

Taurus pistol

Identification documents in the name of “Powell” with Pittman’s photo

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Your client agrees that these items are subject to seizure and forfeiture by the United States,
and that no defense exists to the seizure and forfeiture of the property by the United States. As
such, your client hereby relinquishes all claim, title, and interest he has in the above-referenced
property to the United States and/or the District of Columbia and agrees not to oppose any civil,
administrative, or judicial forfeiture of the property. Your client agrees that he will not file a claim
to this property and withdraw any claim for the property that he may have filed. Your client
knowingly and voluntarily waives any right to timely notice provided for in 18 U.S.C. § 983. In
the event that the law enforcement agency having custody of the property decides not to pursue
forfeiture of the property, your client hereby consents to its destruction by and/or abandonment to
the law enforcement agency. Your client certifies that he is the sole owner of the property listed
above, and that no one else has an ownership interest in the property.

Your client agrees to waive all constitutional and statutory challenges in any manner
(including, but not limited to, direct appeal) to any forfeiture/destruction carried out in accordance
with this plea agreement on any grounds, including that the forfeiture constitutes an excessive fine

or punishment.

11. Breach of Agreement

Your client understands and agrees that, if after entering this Agreement, your client fails
specifically to perform or to fulfill completely each and every one of your client’s obligations
under this Agreement, or engages in any criminal activity prior to sentencing, your client will
have breached this Agreement. In the event of such a breach: (a) the Government will be free
from its obligations under this Agreement; (b) your client will not have the right to withdraw the
guilty plea; (c) your client will be fully subject to criminal prosecution for any other crimes,
including perjury and obstruction of justice; and (d) the Government will be free to use against
your client, directly and indirectly, in any criminal or civil proceeding, all statements made by
your client and any of the information or materials provided by your client, including such
statements, information and materials provided pursuant to this Agreement or during the course
of any debriefings conducted in anticipation of, or after entry of, this Agreement, whether or not
the debriefings were previously characterized as “off-the-record” debriefings, and including your
client’s statements made during proceedings before the Court pursuant to Rule 11 of the Federal

Rules of Criminal! Procedure.

Your client understands and agrees that the Government shall be required to prove a
breach of this Agreement only by a preponderance of the evidence, except where such breach is
based on a violation of federal, state, or local criminal law, which the Government need prove
only by probable cause in order to establish a breach of this Agreement.

Nothing in this Agreement shall be construed to permit your client to commit perjury, to
make false statements or declarations, to obstruct justice, or to protect your client from
prosecution for any crimes not included within this Agreement or committed by your client after
the execution of this Agreement. Your client understands and agrees that the Government
reserves the right to prosecute your client for any such offenses. Your client further understands
that any perjury, false statements or declarations, or obstruction of justice relating to your client’s

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obligations under this Agreement shall constitute a breach of this Agreement. In the event of
such a breach, your client will not be allowed to withdraw your client’s guilty plea.

12. Complete Agreement

No agreements, promises, understandings, or representations have been made by the
parties or their counsel other than those contained in writing herein, nor will any such
agreements, promises, understandings, or representations be made unless committed to writing
and signed by your client, defense counsel, and an Assistant United States Attorney for the
District of Columbia.

Your client further understands that this Agreement is binding only upon the Criminal
and Superior Court Divisions of the United States Attorney’s Office for the District of Columbia.
This Agreement does not bind the Civil Division of this Office or any other United States
Attorney’s Office, nor does it bind any other state, local, or federal prosecutor. It also does not
bar or compromise any civil, tax, or administrative claim pending or that may be made against
your client.

If the foregoing terms and conditions are satisfactory, your client may so indicate by
signing this Agreement and the Statement of Offense, and returning both to me no later than
March 14, 2025.

Sincerely yours,

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Edward R. Martin, Jr.
United States Attorney

By:  /s/Cameron A. Tepfer
Cameron A. Tepfer
Assistant United States Attorney

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DEFENDANT’S ACCEPTANCE

I have read every page of this Agreement and have discussed it with my attorney,
Nicholas Madiou, Esq. I fully understand this Agreement and agree to it without reservation. I
do this voluntarily and of my own free will, intending to be legally bound. No threats have been
made to me nor am I under the influence of anything that could impede my ability to understand
this Agreement fully. I am pleading guilty because I am in fact guilty of the offense(s) identified

in this Agreement.

[ reaffirm that absolutely no promises, agreements, understandings, or conditions have
been made or entered into in connection with my decision to plead guilty except those set forth
in this Agreement. I am satisfied with the legal services provided by my attorney in connection
with this Agreement and matters related to it.

Date: ¥, [Y. 2S NV pf de.

Mich4el Pittman”
Defendant

ATTORNEY’S ACKNOWLEDGMENT

I have read every page of this Agreement, reviewed this Agreement with my client,
Michael Pittman, and fully discussed the provisions of this Agreement with my client. These
pages accurately and completely set forth the entire Agreement. I concur in my client’s desire to
plead guilty as set forth in this Agreement.

Date: 7: 14.95 ee
—Nicholas Madiou, Esq.
Attorney for Defendant

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